               Case 23-13736       Doc 23     Filed 06/01/23     Page 1 of 2




MARIA ELLENA CHAVEZ-RUARK, U.S. BANKRUPTCY JUDGE

                                                                   Evidentiary Hearing: YES
                                                                        Exhibits Filed: YES

                         PROCEEDING MEMO − CHAPTER 11

Case: 23-13736-MCR                                          Date: 06/01/2023 at 2:00 p.m.
ZIP MAILING SERVICES, INC.

Appearances: Christopher L. Hamlin, counsel for Debtor
             Stephen A. Metz, Subchapter V Trustee (by phone)
             Lynn A. Kohen, Office of the United States Trustee

Also present: Darryl Jackson, Jr., President of Debtor

[7] Motion to Use Cash Collateral, Granting Adequate Protection Pursuant to 11 U.S.C. §§
361 and 363 and Scheduling a Final H Filed by ZIP Mailing Services, Inc.. (Attachments: # 1
Exhibit Exhibit A - UCC-1 Financing Statement # 2 Exhibit B - Budget # 3 Proposed Order)

       [14] Objection on behalf of US Trustee - Greenbelt Filed by Lynn A. Kohen (related
       document(s)7 Motion to Use Cash Collateral filed by Debtor ZIP Mailing Services,
       Inc.).

[8] Motion to Pay Pre-Petition Wages,, Salaries and/or Other Compensation Filed by ZIP
Mailing Services, Inc.. (Attachments: # 1 Exhibit Payroll Ledger # 2 Proposed Order)

COMMENTS:             Darryl Jackson, Jr. testified, and the Court admitted Debtor’s Exhibits
                      1-5 and UST’s Exhibits 1-2.

                      The Court found that the Debtor would be irreparably harmed if it is
                      not permitted to use cash collateral on an interim basis through 6/6/23.
                      The Debtor may use cash collateral to pay the following expenses in
                      the budget, which the Court found are necessary to avoid irreparable
                      harm: (i) payroll $11,673 (due 6/2/23), (ii) independent consultant’s
                      fees $298.25 (1/4 of the monthly amount), (iii) Newco adequate
                      protection payment $980, (iv) payroll expenses $1,175.25 (1/4 of the
                      monthly amount), (v) office rent $8,832, (vi) utilities $2,787,
                      (vii) copies, paper and envelopes $4,740 (1/2 of the monthly amount),
                      and (viii) auto/maintenance/gas $500. The Debtor may pay additional
                      amounts and/or expenses if there is an extraordinary need and the UST
                      and Sub V Trustee consent.

                      The Debtor will submit a new budget (broken down weekly) prior to
                      the next hearing.
           Case 23-13736    Doc 23    Filed 06/01/23     Page 2 of 2




               The Debtor must provide a copy of the cash collateral order by email
               or overnight delivery to the four parties claiming to have a lien on
               cash.

DISPOSITION:   Hearing held. Prepetition wages motion [8] granted. Cash collateral
               motion [7] granted with limitations. Next cash collateral hearing
               6/7/23 at 2:30 p.m. (in person).
